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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,

             Plaintiff,                         Case No. 3:17-CV-00101-RDM
                                                (Hon. Robert D. Mariani)
             v.

Navient Corporation, et al.,                    Electronically Filed

             Defendants.

             PLAINTIFF’S NOTICE OF RECENT AUTHORITY

      Plaintiff Consumer Financial Protection Bureau (“Bureau”) submits this

Notice to inform the Court of recent authority relevant to the Court’s adjudication

of Defendants’ pending Motion for Judgment on the Pleadings (Doc. 504).

      Two courts have now considered the Bureau’s ratification of pending

enforcement actions in the wake of the Supreme Court’s decision in Seila Law LLC

v. CFPB, 140 S. Ct. 2183 (2020). Both have held that those ratifications are valid,

and both have concluded that those ratifications resolve any problem relating to the

statutory removal restriction that the Supreme Court held invalid, but severable, in

Seila Law.

      In BCFP v. Chou Team Realty LLC, No. 8:20-cv-00043 (C.D. Cal. Order

Regarding Motion to Dismiss, Aug. 21, 2020) (attached as Exhibit 1), the court

rejected an argument by one of the defendants that the Bureau’s ongoing
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enforcement action could not be ratified but must instead be dismissed. The court

held that “[a]ny constitutional deficiency regarding the removability issue at the

time the Complaint was filed was cured by the Supreme Court severing the

removal provision from the rest of the organic statute, coupled with the Director’s

July 9 ratification of the action.” Exhibit 1, at 4.

      And in BCFP v. Law Offices of Crystal Moroney, P.C., No. 7:20-cv-03240

(S.D.N.Y. Aug. 19, 2020), the court, ruling from the bench, granted the Bureau’s

petition to enforce a civil investigative demand (CID). (A copy of the transcript of

that ruling is attached as Exhibit 2.) The Bureau had filed that action before the

Supreme Court issued its decision in Seila Law, but the Bureau’s Director ratified

the action after Seila Law confirmed that she is removable at will by the President.

That ratification, the court held, cured any defect in the initial filing of the case.

Exhibit 2 at 69:25-70:3. The court ordered the CID to be enforced, rejecting the

respondent’s arguments that the Director’s ratification was invalid. Id. at 78:18-19;

71:25-72:6.




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Dated: September 4, 2020    Respectfully submitted,

                            Thomas G. Ward
                            Enforcement Director

                            David Rubenstein
                            Deputy Enforcement Director

                            Thomas Kim
                            Assistant Deputy Enforcement Director

                               /s/ Andrea Matthews
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                         CERTIFICATE OF SERVICE

      I certify that on September 4, 2020, I filed the foregoing document with the

Court’s ECF system, which will send notification of such filing to counsel for

Defendants.

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